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     NELSON CHILIN
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     NELSON CHILIN,                                    Case No.: 5:23-cv-02421-KK-AJR
11
12                Plaintiff,                           NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
13         vs.                                         WITH PREJUDICE
14
     PUEBLITA ENTERPRISE, INC.;
15   UPLAND EQUITIES, LLC; and DOES 1
16   to 10,
                  Defendants.
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           PLEASE TAKE NOTICE that Plaintiff NELSON CHILIN (“Plaintiff”) pursuant
20
     to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
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     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22
     provides in relevant part:
23
           (a) Voluntary Dismissal.
24
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                         and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
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                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: February 2, 2024               SO. CAL. EQUAL ACCESS GROUP
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 9
10                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
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                                                 Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
